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6    Attorney for Lynn Ferrell Smith

7
                                 UNITED STATES DISTRICT COURT
8
                                EASTERN DISTRICT OF CALIFORNIA
9

10

11   UNITED STATES OF AMERICA,           )                Case No. 2:12-Cr.S-0255 GEB
                                         )
12
                       Plaintiff,        )                STIPULATION AND PROPOSED
13                                       )                ORDER CONTINUING JUDGMENT
           v.                            )                AND SENTENCING FOR LYNN
14                                       )                SMITH
15
     LYNN FERRELL SMITH,                 )
                                         )                Date: April 5, 2013
16                     Defendants.       )                Time: 9:00 a.m.
     ____________________________________)                Dept: The Hon. Garland E. Burrell
17

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19          With the Court’s permission, plaintiff United States of America, by and through its
20   counsel, Assistant United States Attorney Richard J. Bender, and defendant Lynn Smith, by and
21   through his attorney William J. Portanova, hereby stipulate that the date of defendant’s
22   Judgment and Sentencing, now set for April 5, 2013 at 9:00 a.m. be continued to May 31, 2013
23   at 9:00 a.m., and that the following schedule for disclosure of the Pre-Sentence Report and the
24   filing of objections be adopted:
25          Judgment and Sentencing Date:                        May 31, 2013
26          Reply, or Statement of Non-Opposition:               May 24, 2013
27          Motion for Correction of Pre-Sentence Report:        May 17, 2013
28
     ///
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1           Pre-Sentence Report shall be Filed with the
            Court and Disclosed to Counsel:                      May 10, 2013
2
            Counsel’s Written Objections to the Pre-
3
            Sentence Report shall be Delivered to the
4           Probation Officer and Opposing Counsel:              May 3, 2013

5           Pre-Sentence Report Disclosed to Counsel:            April 26, 2013
6           This continuance is necessary for the parties to address certain matters concerning the
7    pre-sentence report.
8

9    IT IS SO STIPULATED.
10

11   DATED: February 21, 2013                             /s/ William J. Portanova
                                                          ______________________________
12
                                                          WILLIAM J. PORTANOVA
13                                                        Attorney for Lynn Ferrell Smith

14
     DATED: February 21, 2013                             /s/ Richard J. Bender
15
                                                          ______________________________
16                                                        RICHARD J. BENDER
                                                          Supv. Assistant United States Attorney
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                           Case 2:12-cr-00255-TLN Document 44 Filed 02/22/13 Page 3 of 3




1                                            IN THE UNITED STATES DISTRICT COURT
2
                                          FOR THE EASTERN DISTRICT OF CALIFORNIA
3

4    UNITED STATES OF AMERICA,           )                                Case No. 2:12-CR.S-00255 GEB
                                         )
5
                       Plaintiff.        )
6                                        )                                ORDER CONTINUING JUDGMENT
           v.                            )                                AND SENTENCING FOR LYNN
7                                        )                                SMITH
     LYNN FERRELL SMITH,                 )
8
                                         )
9                      Defendants.       )
     ____________________________________)
10

11                          For the reasons set forth in the stipulation of the parties filed on February 21, 2013, and
12   for good cause shown, IT IS HEREBY ORDERED that the Judgment and Sentencing set for
13   April 5, 2013, be vacated and that defendant Lynn Smith’s Judgment and Sentence be scheduled
14   on May 31, 2013, at 9:00 a.m.
15                          IT IS SO ORDERED.
16   Date: 2/21/2013
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18                                                           ___________________________________
                                                             GARLAND E. BURRELL, JR.
19                                                           Senior United States District Judge
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     DEAC_Signature-END:




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